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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                   November 17, 2023
                         IN THE UNITED STATES DISTRICT COURT                       Nathan Ochsner, Clerk
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

TRANSLANTICA COMMODITIES PTE LTD§
                                §
vs                              §                  CIVIL ACTION NO. H: 22-1983
                                §
HANWIN SHIPPING LIMITED, et al  §

             ORDER ADOPTING MEMORANDUM AND RECOMMENDATION

          Pending before the Court are Plaintiffs Motion to Dismiss Hanwin Shipping Limited's

Counterclaim and for return of countersecurity (Doc. No. 80); Garnishee American Shipping and

Chartering Corp. opposes this motion (Doc. No. 81); and Magistrate Judge Sheldon's Memorandum

and Recommendation (Doc. No. 88). The parties did not file objections to the Memorandum and

Recommendation and the time for doing so has passed.

          Upon review, the Court agrees with the Magistrate Judge's conclusion that Defendant

Hanwin Shipping remains unrepresented by counsel, has made no indication that it has retained

counsel to represent them in this matter or otherwise communicated with the Court. Accordingly,

it is hereby

          ORDERED that the Memorandum and Recommendation (Doc. No. 88) is ADOPTED and

Transatlantica Commodities PTE LTD's Motion to Dismiss (Doc. No. 81) is GRANTED. It is

further
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